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     United States of America
 7

 8                                 IN THE UNITED STATES DISTRICT COURT

 9                                    EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,                            CASE NO. 1:10-CR-00249 AWI BAM

11                                Plaintiff,              STIPULATION AND ORDER
                                                          CONTINUING SENTENCING HEARING
12
                            v.                            Old Date: Nov. 4, 2013
13                                                        Old Time: 10:00 a.m.

14   MONICA MARIE HERNANDEZ,                              New Date: May 5, 2014
                                                          New Time: 10:00 a.m.
15                               Defendant.               Court:     Two
                                                           (Hon. Anthony W. Ishii)
16

17

18          Defendant Monica Marie Hernandez pleaded guilty on June 10, 2013 to Count 1 of the
19   Superseding Indictment in this case. Sentencing is currently set for November 4, 2013, at 10:00 a.m.
20   The trial as to the two remaining co-defendants was previously set to begin September 24, 2013, but
21   following a hearing on September 16, 2013 the trial dates were vacated due to the decision to appoint
22   new counsel for co-defendant Evelyn Sanchez. A new trial date for the remaining co-defendants has not
23   yet been set.
24          In light of the change as to the co-defendants’ trial date, and to allow additional time for Ms.
25   Hernandez to fulfill her obligations under the plea agreement, the parties hereby stipulate and jointly
26   request that the Court order that the sentencing hearing in this case be continued from November 4, 2013
27   to May 5, 2014, or to the earliest time thereafter that is convenient to the Court. The parties further
28   stipulate and jointly request that the Court extend the deadline to submit informal objections to the Pre-

      Stipulation & Order                                 1
      Continuing Sentencing Hearing
                           Case 1:10-cr-00249-JLT-BAM Document 216 Filed 10/11/13 Page 2 of 2


 1   Sentence Report (PSR) to three weeks prior to the continued sentencing date, and extend the deadline to
 2   file formal objections to the PSR to one week prior to the continued sentencing date.
 3   Dated: Oct. 9, 2013
 4                                                                      Respectfully Submitted,
 5                                                                         BENJAMIN B. WAGNER
                                                                           United States Attorney
 6
                                                                           /s/ Kirk E. Sherriff
 7                                                                         KIRK E. SHERRIFF
                                                                           HENRY Z. CARBAJAL III
 8                                                                         Assistant United States Attorneys
 9
                                                                           /s/ W. Scott Quinlan
10                                                                         (authorized on 10/9/13)
                                                                           W. SCOTT QUINLAN
11                                                                         Attorney for Defendant MONICA HERNANDEZ
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13

14                                                                 ORDER
15                         The Court has reviewed and considered the stipulation of the parties to continue the sentencing
16   hearing in this case. Good cause appearing, IT IS ORDERED that the sentencing hearing is continued
17   from November 4, 2013 to May 5, 2014, at 10:00 a.m., and that the deadlines to submit informal
18   objections and to file formal objections to the Pre-Sentence Report are extended as set forth above.
19

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21   IT IS SO ORDERED.
22   Dated: October 10, 2013
                                                               SENIOR DISTRICT JUDGE
23   DEAC_Signature-END:




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                      Stipulation & Order                              2
                      Continuing Sentencing Hearing
